  Case 1:23-cv-00019-RJJ-SJB ECF No. 1, PageID.1 Filed 01/05/23 Page 1 of 11

                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN

 NICOLE SAPPHIRE, individually and on behalf of                           CLASS ACTION
 all others similarly situated,
                                                                               Case No.
    Plaintiff,
                                                                    JURY TRIAL DEMANDED
 vs.

 AEY HOLDINGS, LLC d/b/a
 GAGE CANNABIS CO.

   Defendant.
 ________________________________________/


                                  CLASS ACTION COMPLAINT

        1.       Plaintiff, Nicole Sapphire (“Plaintiff”), brings this action against Defendant, AEY

Holdings, LLC d/b/a/ Gage Cannabis Co. (“Defendant”), to secure redress for violations of the

Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227.

                                     NATURE OF THE ACTION

        2.       This is a putative class action pursuant to the Telephone Consumer Protection Act, 47

U.S.C. § 227 et seq., (the “TCPA”).

        3.       Defendant is a cannabis dispensary. To promote its services, Defendant engages in

unsolicited marketing, harming thousands of consumers in the process.

        4.       Through this action, Plaintiff seeks injunctive relief to halt Defendant’s illegal conduct,

which has resulted in the invasion of privacy, harassment, aggravation, and disruption of the daily life

of thousands of individuals. Plaintiff also seeks statutory damages on behalf of herself and members of

the class, and any other available legal or equitable remedies.

                                   JURISDICTION AND VENUE

        5.       Jurisdiction is proper under 28 U.S.C. § 1331 as Plaintiff alleges violations of a federal

statute. Jurisdiction is also proper under 28 U.S.C. § 1332(d)(2) because Plaintiff alleges a national class,
  Case 1:23-cv-00019-RJJ-SJB ECF No. 1, PageID.2 Filed 01/05/23 Page 2 of 11



which will result in at least one class member belonging to a different state than that of Defendant.

Plaintiff seeks up to $1,500.00 (one-thousand-five-hundred dollars) in damages for each call in violation

of the TCPA, which, when aggregated among a proposed class numbering in the tens of thousands, or

more, exceeds the $5,000,000.00 (five-million dollars) threshold for federal court jurisdiction under the

Class Action Fairness Act (“CAFA”). Therefore, both the elements of diversity jurisdiction and CAFA

jurisdiction are present.

        6.      Venue is proper in the United States District Court for the Western District of Michigan

pursuant to 28 U.S.C. § 1391(b) and (c) because Defendant is deemed to reside in any judicial district

in which it is subject to the court’s personal jurisdiction, and because Defendant provides and markets

its services within this district thereby establishing sufficient contacts to subject it to personal

jurisdiction. Further, Defendant’s tortious conduct against Plaintiff occurred within the State of

Michigan and, on information and belief, Defendant has sent the same text messages complained of by

Plaintiff to other individuals within this judicial district, such that some of Defendant’s acts in making

such calls have occurred within this district, subjecting Defendant to jurisdiction in the State of

Michigan.

                                               PARTIES

        7.      Plaintiff is a natural person who, at all times relevant to this action, was a resident of

Kalamazoo County, Michigan.

        8.      Defendant is a Michigan LLC whose principal office is located in Ferndale Michigan.

Defendant directs, markets, and provides its business activities throughout the State of Michigan.

        9.      Unless otherwise indicated, the use of Defendant’s name in this Complaint includes

all agents, employees, officers, members, directors, heirs, successors, assigns, principals, trustees,

sureties, subrogees, representatives, vendors, and insurers of Defendant.

                                                FACTS
  Case 1:23-cv-00019-RJJ-SJB ECF No. 1, PageID.3 Filed 01/05/23 Page 3 of 11



        10.     Over the past several years preceding the filing of this Complaint, Defendant began

bombarding Plaintiff with telemarketing text messages to Plaintiff’s cellular telephone number ending

in 3889 (the “3889 Number”) including but not limited to on October 7, 2022, October 21, 2022,

October 24, 2022, October 28, 2022, and October 31, 2022. The text messages conclude with standard

opt-out instructions, such as “Reply ‘Stop’ to opt out.”
  Case 1:23-cv-00019-RJJ-SJB ECF No. 1, PageID.4 Filed 01/05/23 Page 4 of 11




        11.     Each time Plaintiff received a message from Defendant, Plaintiff responded with

the word “Stop” in an attempt to opt-out of any further text message communications with

Defendant. Plaintiff responded with the word “Stop” on October 7, 2022, October 24, 2022,

October 28, 2022, October 31, 2022, and many other times before then.

        12.     Despite Plaintiff’s use of Defendant’s preferred opt-out language, Defendant

ignored Plaintiff’s repeated opt-out demands and continued to send Plaintiff further text messages.

        13.     Defendant’s text messages were transmitted to Plaintiff’s cellular telephone, and within

the time frame relevant to this action.
  Case 1:23-cv-00019-RJJ-SJB ECF No. 1, PageID.5 Filed 01/05/23 Page 5 of 11



        14.     Defendant’s text messages constitute telemarketing because they encouraged the future

purchase or investment in property, goods, or services, i.e., selling Plaintiff cannabis products.

        15.     The information contained in the text message advertises Defendant’s various discounts

and promotions, which Defendant sends to promote its business.

        16.     Plaintiff received the subject texts from within this judicial district and, therefore,

Defendant’s violation of the TCPA occurred within this district. Upon information and belief,

Defendant caused other text messages to be sent to individuals residing within this judicial district.

        17.     Defendant’s texts were not made for an emergency purpose or to collect on a debt

pursuant to 47 U.S.C. § 227(b)(1)(B).

        18.     Upon information and belief, Defendant does not have a written policy for

maintaining an internal do not call list pursuant to 47 U.S.C. § 64.1200(d)(1).

        19.     Upon information and belief, Defendant does not inform and train its personnel

engaged in telemarking in the existence and the use of any internal do not call list pursuant to 47

U.S.C. § 64.1200(d)(2).

        20.     At no point in time did Plaintiff provide Defendant with her express written consent to

be contacted.

        21.     To the extent that Defendant had express consent to contact Plaintiff for telemarketing

purposes, that consent was expressly revoked when Plaintiff responded “Stop”.

        22.     Plaintiff is the subscriber and sole user of the 3889 Number and is financially

responsible for phone service to the 3889 Number.

        23.     The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c), provides that “[n]o

person or entity shall initiate any telephone solicitation” to “[a] residential telephone subscriber

who has registered his or her telephone number on the national do-not-call registry of persons who

do not wish to receive telephone solicitations that is maintained by the federal government.
  Case 1:23-cv-00019-RJJ-SJB ECF No. 1, PageID.6 Filed 01/05/23 Page 6 of 11



        24.     Defendant’s text messages originated from telephone numbers 954-2374635, 631-

551-8062, 484-267-1485, 575-888-2395, 662-442-8761, 541-702-4297 and other numbers, all

numbers which upon information and belief are owned and operated by Defendant or on behalf of

Defendant.

        25.     Defendant’s unsolicited text messages caused Plaintiff actual harm, including

invasion of her privacy, aggravation, annoyance, intrusion on seclusion, trespass, and conversion.

Defendant’s text messages also inconvenienced Plaintiff and caused disruption to her daily life.

                                       CLASS ALLEGATIONS

        PROPOSED CLASS

        26.     Plaintiff brings this case as a class action pursuant to Fed. R. Civ. P. 23, on behalf of

herself and all others similarly situated.

        27.     Plaintiff brings this case on behalf of a Class defined as follows:


                     Internal Do Not Call Class: All persons within the United
                     States who, within the four years prior to the filing of this
                     Complaint, were sent a text message from Defendant or
                     anyone on Defendant’s behalf, to said person’s cellular
                     telephone number after making a request to Defendant to
                     not receive future text messages.

        28.     Defendant and its employees or agents are excluded from the Class. Plaintiff does not

know the number of members in the Class, but believes the Class members number in the several

thousands, if not more.

           NUMEROSITY

        29.     Upon information and belief, Defendant has placed violative calls to cellular telephone

numbers belonging to thousands of consumers throughout the United States after they had requested to

be opted-out of further communications. The members of the Class, therefore, are believed to be so

numerous that joinder of all members is impracticable.
  Case 1:23-cv-00019-RJJ-SJB ECF No. 1, PageID.7 Filed 01/05/23 Page 7 of 11



        30.      The exact number and identities of the Class members are unknown at this time and can

only be ascertained through discovery. Identification of the Class members is a matter capable of

ministerial determination from Defendant’s call records.

              COMMON QUESTIONS OF LAW AND FACT

        31.      There are numerous questions of law and fact common to the Class which predominate

over any questions affecting only individual members of the Class. Among the questions of law and

fact common to the Class are:

                 a) Whether Defendant violated 47 C.F.R. § 64.1200(d);

                 b) Whether Defendant’s conduct was knowing and willful;

                 c) Whether Defendant adhered to requests by class members to stop sending text

                     messages to their telephone numbers;

                 d) Whether Defendant keeps records of text recipients who revoked consent to receive
                     texts.

                 e) Whether Defendant has any written policies for maintaining an internal do not call

                     list.

                 f) Whether Defendant violated the privacy rights of Plaintiff and members of the class;

                 g) Whether Defendant is liable for damages, and the amount of such damages; and

                 h) Whether Defendant should be enjoined from such conduct in the future.


        32.      The common questions in this case are capable of having common answers. If Plaintiff’s

claim that Defendant routinely transmits text messages to telephone numbers assigned to cellular

telephone services is accurate, Plaintiff and the Class members will have identical claims capable of

being efficiently adjudicated and administered in this case.

              TYPICALITY

        33.      Plaintiff’s claims are typical of the claims of the Class members, as they are all based

on the same factual and legal theories.
  Case 1:23-cv-00019-RJJ-SJB ECF No. 1, PageID.8 Filed 01/05/23 Page 8 of 11



              PROTECTING THE INTERESTS OF THE CLASS MEMBERS

        34.     Plaintiff is a representative who will fully and adequately assert and protect the interests

of the Class, and has retained competent counsel. Accordingly, Plaintiff is an adequate representative

and will fairly and adequately protect the interests of the Class.

              PROCEEDING VIA CLASS ACTION IS SUPERIOR AND ADVISABLE

        35.     A class action is superior to all other available methods for the fair and efficient

adjudication of this lawsuit, because individual litigation of the claims of all members of the Class is

economically unfeasible and procedurally impracticable. While the aggregate damages sustained by the

Class are in the millions of dollars, the individual damages incurred by each member of the Class

resulting from Defendant’s wrongful conduct are too small to warrant the expense of individual

lawsuits. The likelihood of individual Class members prosecuting their own separate claims is remote,

and, even if every member of the Class could afford individual litigation, the court system would be

unduly burdened by individual litigation of such cases.

        36.     The prosecution of separate actions by members of the Class would create a risk of

establishing inconsistent rulings and/or incompatible standards of conduct for Defendant. For example,

one court might enjoin Defendant from performing the challenged acts, whereas another may not.

Additionally, individual actions may be dispositive of the interests of the Class, although certain class

members are not parties to such actions.

                                            COUNT I
                         Violations of the TCPA, 47 U.S.C. § 227(c)(2)
                  (On Behalf of the Plaintiff and the Internal Do Not Call Class)

        37.     Plaintiff re-alleges and incorporates the foregoing allegations set forth in paragraphs 1

through 36 as is fully set forth herein.

        38.     The TCPA provides that any “person who has received more than one telephone call

within any 12-month period by or on behalf of the same entity in violation of the regulations prescribed

under this subsection may” bring a private action based on a violation of said regulations, which were
  Case 1:23-cv-00019-RJJ-SJB ECF No. 1, PageID.9 Filed 01/05/23 Page 9 of 11



promulgated to protect telephone subscribers’ privacy rights to avoid receiving telephone solicitations

to which they object. 47 U.S.C. § 227(c)(5).

        39.     Under 47 C.F.R. § 64.1200(d), “[n]o person or entity shall initiate any call for

telemarketing purposes to a residential telephone subscriber unless such person or entity has instituted

procedures for maintaining a list of persons who request not to receive telemarketing calls made by or

on behalf of that person or entity. The procedures instituted must meet certain minimum standards,

including:

       (3) Recording, disclosure of do-not-call requests. If a person or entity making a call for
       telemarketing purposes (or on whose behalf such a call is made) receives a request from
       a residential telephone subscriber not to receive calls from that person or entity, the
       person or entity must record the request and place the subscriber’s name, if provided,
       and telephone number on the do-not call list at the time the request is made. Persons or
       entities making calls for telemarketing purposes (or on whose behalf such calls are
       made) must honor a residential subscriber’s do-not-call request within a reasonable time
       from the date such request is made. This period may not exceed thirty days from the
       date of such request . . . .

       (6) Maintenance of do-not-call lists. A person or entity making calls for telemarketing
       purposes must maintain a record of a consumer’s request not to receive further
       telemarketing calls. A do-not-call request must be honored for 5 years from the time the
       request is made.

47 C.F.R. § 64.1200(d)(3), (6).

       40.     Under 47 C.F.R § 64.1200(e) the rules set forth in 47 C.F.R. § 64.1200(d) are applicable

to any person or entity making telephone solicitations or telemarketing calls to wireless telephone

numbers:

       (e) The rules set forth in paragraph (c) and (d) of this section are applicable to any person
       or entity making telephone solicitations or telemarketing calls to wireless telephone
       numbers to the extent described in the Commission's Report and Order, CG Docket No.
       02-278, FCC 03-153, “Rules and Regulations Implementing the Telephone Consumer
       Protection Act of 1991.

47 C.F.R. § 64.1200(e).

       41.     Plaintiff and the Internal Do Not Call Class members made requests to Defendant not

to receive calls from Defendant.
Case 1:23-cv-00019-RJJ-SJB ECF No. 1, PageID.10 Filed 01/05/23 Page 10 of 11



          42.    Defendant failed to honor Plaintiff and the Internal Do Not Call Class members’

requests.

          43.    Upon information and belief, Defendant has not instituted procedures for maintaining a

list of persons who request not to receive telemarketing calls made by or on behalf of their behalf,

pursuant to 47 C.F.R. § 64.1200(d).

          44.    Because Plaintiff and the Internal Do Not Call Class members received more than one

text message in a 12-month period made by or on behalf of Defendant in violation of 47 C.F.R. §

64.1200(d), as described above, Defendant violated 47 U.S.C. § 227(c)(5).

          45.    As a result of Defendant’s violations of 47 U.S.C. § 227(c)(5), Plaintiff and the Internal

Do Not Call Class members are entitled to an award of $500.00 in statutory damages, for each and every

negligent violation, pursuant to 47 U.S.C. § 227(c)(5).

          46.    As a result of Defendant’s violations of 47 U.S.C. § 227(c)(5), Plaintiff and the Internal

Do Not Call Class members are entitled to an award of $1,500.00 in statutory damages, for each and

every knowing and/or willful violation, pursuant to 47 U.S.C. § 227(c)(5).

          47.    Plaintiff and the Internal Do Not Call Class members also suffered damages in the form

of invasion of privacy.

          48.    Plaintiff and the Internal Do Not Call Class members are also entitled to and seek

injunctive relief prohibiting Defendant’s illegal conduct in the future, pursuant to 47 U.S.C. § 227(c)(5).

                                       PRAYER FOR RELIEF
          WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for the following

relief:

    a) An order certifying this case as a class action on behalf of the Class as defined above, and

appointing Plaintiff as the representative of the Class and Plaintiff’s counsel as Class Counsel;

    b) An award of actual and statutory damages for Plaintiff and each member of the Class;

    c) An order declaring that Defendant’s actions, set out above, violate the TCPA;
Case 1:23-cv-00019-RJJ-SJB ECF No. 1, PageID.11 Filed 01/05/23 Page 11 of 11



    d) An injunction requiring Defendant to cease all unsolicited text messaging activity, and to

otherwise protect the interests of the Class;

    e) Such further and other relief as the Court deems necessary.

                                          JURY DEMAND

         Plaintiff and Class Members hereby demand a trial by jury.

                            DOCUMENT PRESERVATION DEMAND

        Plaintiff demands that Defendant take affirmative steps to preserve all records, lists, electronic

databases or other itemizations associated with the allegations herein, including all records, lists,

electronic databases or other itemizations in the possession of any vendors, individuals, and/or

companies contracted, hired, or directed by Defendant to assist in sending the alleged communications.


Dated: January 5, 2023

 Shamis & Gentile, P.A.
 /s/ Andrew J. Shamis
 Andrew J. Shamis, Esq.
 Florida Bar No. 101754
 ashamis@shamisgentile.com
 14 NE 1st Avenue, Suite 705
 Miami, FL 33132
 Telephone: 305-479-2299

 Counsel for Plaintiff and the Class
